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From: Ken Ree] (a

Date: April 11, 2017 at 2:30:59 PM EDT
To: Fyre Festival <concier eapp.com>
Subject: RE: Your Fyre Festival Experience

To Whom It May Concern:

| am writing to express my concerns surrounding my order (order no. 47ced6fea763164a) and the |
event updates provided in the email below. My specific concerns surround the location of the
event which now appears will be held on Great Exuma not on a “private island” as advertised.

As an individual that has traveled to the Exumas many times this deviation from the original
marketing of the event inherently changes the value of the services that were offered at the
time of purchase (purchase date 12/20/16). Specifically, Fyre Festival was advertised on your
website, Facebook page, video marketing and press releases as “the unparalleled best in music, -
cuisine, design & hospitality on a private island in the Exumas”. The inference that this “private
island” was call “FYRE Cay” was mentioned dozens of times. That access to “FYRE Cay” was
exclusive was woven throughout your marketing including; the necessity to arrange private
flights which many of us waited months to finalize, only now to find out we will not be flying to,
a private island as advertised and it will not be on a private flight, but we will in fact be flying in
to an international airport located on the main/non-exclusive island of Great Exuma. To
reiterate, Great Exuma is accessed everyday by commercial airline carriers such as Delta and
American Airlines and is by no means “private”. Additionally, | believe the recent changes
detailed in your email below and on your website indicate that you know this is not a “private
island” experience, as you are now marketing it as “private land”, accessed by a flight in to an
international airport via 737 and motor coach. As mentioned these changes inherently change
the value of the services being offered at the time of purchase. As a result | am requesting a

refund.

In making this refund request | am filled with disappointment that the event you marketed is
not going to take place. The Exumas are a wonderful place, especially when you have a chance
to stay on one of the many private cays that make up the Exuma Archipelago. However,
marketing the event to be held on a private island when in fact it will take place on a defunct
landholding which is semi-industrial/manmade is extremely misleading. | could continue to
dissect your marketing providing several other areas of concern which appear to be clear
misrepresentations specifically designed to mislead prospective buyers but we both know the
event is ultimately not what is was marketing as. Furthermore, | have read your FAQs and are
familiar with your “no refund” policy however such policies are generally void on the legal basis
that “advertisement that is likely to mislead a reasonable consumer acting reasonably under
the circumstances” amounts to false advertising and/or deceptive business practices for which
damages can be rewarded.
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| don’t feel it is necessary to state my whole case as the facts | have pointed to should be
enough to grant a refund. Furthermore | would appreciate a peaceful and amicable resolution
to this matter without the need for further escalation. | would appreciate a timely response in
the next 72 hours regarding my refund request and | appreciate your attention to this

matter. Thank you.

Kenneth Reel, Esq.

Executive Vice President

 

From: Fyre Festival [mailto:concierge=fyreapp.com@mail70.suw13.rsgsv.net] On Behalf Of Fyre Festival
Sent: Sunday, April 2, 2017 10:09 AM

To: Ken Reel
Subject: Your Fyre Festival Experience
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Kenneth,

We are 26 days away from Fyre Festival's kickoff. As preparation reaches its final stages,

we wanted to share exciting information about your experience.

We are excited to announce that Pusha-T, Desiigner, Tyga (and friends), Rae Sremmurd,
Migos, Lil Yachty, Matoma, Kaytranada, Daya, Klingande, and Skepta will join Blink 182,
Major Lazer, Disclosure (DJ Set) as headlining artists for Fyre Festival 2017. Check out the
full-lineup and look out for surprise performances.

Lineup:

 
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Transportation:

You will be flown roundtrip on a custom, VIP configured Boeing 737 aircraft between Miami
International Airport and Exuma International Airport on Great Exuma. You'll be pre-cleared
by customs and immigration officials while in the air. Once on the ground, you'll be picked
up on the runway via private motor coach and driven to your accommodations. Some of us
are also arriving directly into the onsite marina via private boat and yacht. If you arriving by
yacht, please have your captain or crew email us for the proper nautical coordinates. Let us

know if you have any questions on travel to or from Fyre Festival.

 
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Location:

The main festival living and stage area, Fyre Cay on Great Exuma, is private land that was
owned and directly passed down by Pablo Escobar. Our main day parties are taking part
on the private 7-mile Coco Plum Beach. Depending on your package, there are additional

houses and events across numerous islands and private cays including Bob Cay, Dead

Man Cay, Blackpoint, Staniel Cay, and Over Yonder Cay.

 
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Experience:

It's been said that from space, astronauts deemed the Exuma chain as having the clearest
and nicest water in the world. The music will unite us, but we are equally excited for the
local experiences that will take advantage of the beauty of the Islands. For those of you in
our geodesic domes, you'll have sweeping views of the ocean and sleep in an eco-

friendly setting.

Our on site programming includes sunrise yoga, fitness bootcamps, meditation, massages,

art installations, and much more.

Local excursions include jet skiing, snorkeling the deepest blue hole in the world, seeing

 
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the swimming pigs, exploring the caves, and catamaran parties.*

Main Stage and Coco Plum Beach performers will be playing daily from 12:00pm through
12:30am. Yacht and pop-up club after parties with additional performers will run from

12:00pm through sunrise.

*Look out for an email on how to purchase these experiences

 

 

 

 

Food:
Your dining experience will be curated by Starr Catering Group, the team behind Upland,

Morimoto, the Clocktower, and other top restaurants. Food is included in the price of your

 
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ticket, with additional a la carte options available for purchase. There will be plenty of
healthy options to accommodate a variety of dietary needs. The cuisine is globally

rooted with Bahamian inspirations.

Cocktails:

Starr Catering Group’s mixology team is developing a locally-driven cocktail menu. We'll
have multiple bars running continuously throughout the day. We’re also launching table
service which allows you to experience Coco Plum beach and the Main Stage in an
intimate setting. Let us know if you'd like us to contact you as soon as we release table and
cabana packages.

 

 

 

 

Questions:

 

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Please email us with any questions so we can make sure you are ready for the kickoff.

***I'M WITH FYRE***
Our initial launch influencers and artists will be posting the final lineup poster to social
media with the caption "I'm with Fyre @FyreFestival #FyreFestival." We invite you to join us
as we embark on this experience together. Click here for an image to upload to

your Instagram.

Much Love,
Billy, Ja, & The Fyre Squad

 

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